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 6

 7
                             UNITED STATES DISTRICT COURT
 8

 9         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
10

11

12    ROVIER CARRINGTON,                       CASE NO:
13              Plaintiff,                     VERIFIED COMPLAINT FOR
14                                             DECLARATORY RELIEF AND
                       vs.                     DAMAGES DUE TO VIOLATIONS
15
                                               OF PLAINTIFF’S RIGHT TO
16    NATIONAL AMUSEMENTS, INC.,               REDRESS GRIEVANCES TO THE
17
      PARAMOUNT GLOBAL,                        GOVERNMENT, DUE PROCESS
      PARAMOUNT PICTURES                       RIGHTS, VIOLATIONS OF THE
18
      CORPORATION, GOOGLE,                     AMERICANS WITH
19    GODADDY, VARIETY, THE                    DISABILITIES ACT,
20
      HOLLYWOOD REPORTER & THE                 DEFAMATION PER SE,
      HONORABLE KATHERINE POLK                 NEGLIGENCE & DURESS AS A
21    FAILLA,                                  DEFENSE TO FORMATION OF
22                                             CONTRACT REGARDING A PLEA
23
                Defendants.

24
                                               JURY TRIAL DEMANDED
25

26

27
           I.     The Parties to This Complaint
28      1. Plaintiff, ROVIER CARRINGTON, is a resident of Los Angeles, California.

        2. Defendant NATIONAL AMUSEMENTS, INC. is a privately owned theater


                  VERIFIED COMPLAINT FOR DECLARATORY RELIEF AND DAMAGES - 1
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 1      company and mass media holding company based in Norwood, Massachusetts,
 2
        and incorporated in Maryland while operating and conducting business in Los
 3

 4      Angeles, California. Defendant PARAMOUNT GLOBAL is an American
 5
        corporation, formed through the merger of CBS Corporation and the second
 6

 7      incarnation of Viacom. Paramount Global is headquartered in Manhattan, New
 8
        York, NY while operating and conducting business in Los Angeles, California
 9

10      and throughout the world. Paramount Global owns and operates among other
11
        properties, MTV Networks, Comedy Central, Logo Network, and their main
12

13      asset, PARAMOUNT PICTURES CORPORATION, a film studio, with its
14
        headquarters in Los Angeles, California.
15

16
        3. Defendant PARAMOUNT PICTURES CORPORATION,
17      (“PARAMOUNT” or “PARAMOUNT PICTURES”) is an American film
18
        studio and a subsidiary of Paramount Global.
19

20      4. Defendant GOOGLE LLC is an American multinational technology
21
        company, with its headquarters in Mountain View, California.
22

23      5. Defendant GODADDY, Inc. is an American publicly traded internet domain
24
        registration and hosting company, headquartered in Tempe, AZ.
25

26      6. Defendant HON. KATHERINE POLK FAILLA is a United States District
27
        Court Judge in the Southern District of New York. Judge Failla is sued in her
28
        individual and official capacity, for violations of the ADA, for violations from

        the United States Constitution.

                 VERIFIED COMPLAINT FOR DECLARATORY RELIEF AND DAMAGES - 2
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 1         II.     Basis for Jurisdiction
 2
        7. Plaintiff asserts original federal subject matter jurisdiction under 42 U.S.C.
 3

 4      § 1983 et. seq. (the Civil Rights Act), 28 U.S.C. § 2201 et. seq. (the
 5
        Declaratory Judgment Act), 42 U.S.C. §§ 12101 (the Americans with
 6

 7      Disabilities Amendments Act) et seq (2008), U.S. Const. amend. 1 (the Right
 8
        to Redress Grievances), U.S. Const. amend. XIV, § 5 (the Due Process Clause),
 9

10      and U.S. Const. amend. XIV, § 1 (the Due Process Clause as Applied to the
11
        States). The claims that arise under the laws of the State of California, have
12

13      supplemental jurisdiction to the above federal subject matter jurisdiction
14
        claims, as they arise from the same transaction and set of occurrences.
15

16
                   Statement of Claim
17         III.    First Amendment Right to Redress our Government for
18                 Grievances
19
        8. The U.S. Const. amend. 1 (the Right to Redress Grievances) says that
20

21      Congress may make no law that will prohibit citizens “to petition the
22
        Government for a redress of grievances.” This basic freedom allows to seek
23

24      redress for complaints without fear of reprisal. It has been expanded to include
25
        state governments, courts, and executive branches1. Communication, to be
26

27
        protected as a Petition for Redress, would have to contain no falsehoods nor

28      rise to the level of frivolity. The right to petition includes under its umbrella the

           1Congressional Research Service. "U. S. Constitution Annotated: Amendment I, Rights of Assembly and
           Petition". Legal Information Institute. Cornell Law School. Retrieved May 1, 2023.


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 1      legal right to sue the government.2
 2
        9. Plaintiff Carrington filed a complaint in The United States District Court,
 3

 4      Southern District of New York, Case No. 18-CV-04609-KPF, in Carrington v.
 5
        Graden et al. (“New York Suit”) where he sought relief from sexual assaults
 6

 7      against Brad Grey, Brian Graden and Paramount Pictures, which commenced
 8
        when Carrington was a minor. As proof, Carrington’s attorneys submitted
 9

10      emails as evidence in the amended complaint without Carrington’s consent.
11
        Attached as Exhitit 1 is a true and correct copy of a text message between
12

13      Carrington and his counsel evidencing that Carrington never saw the amended
14
        complaint before it was filed. The emails were verified as authentic by an
15

16
        independent neutral third-party named FTI, who was hired by the defendants.
17      Despite such, Carrington has been accused of perjury for falsifying emails and
18
        for signing a false affidavit, to which, Carrington has evidence showing his
19

20      former attorneys filed the amended complaint, the emails, and an altered
21
        affidavit without notifying him, causing Carrington to fire his counsel and
22

23      request a dismissal without prejudice, which was denied, causing Carrington to
24
        request a venue change in the New York case.
25

26      10. There is currently a protective order, stemming from the above New York
27
        Suit, that bars Plaintiff Carrington’s grievances, which he was never able to
28


           2 Newton, Adam. "Petition - Right to sue". First Amendment Center. Archived from the original on March
           24, 2011.


                   VERIFIED COMPLAINT FOR DECLARATORY RELIEF AND DAMAGES - 4
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 1      fully litigate in a fair and neutral court with his Due Process and other rights
 2
        being afforded. After the New York Suit was dismissed with prejudice due to
 3

 4      the defendants and their attorney’s committing fraud, Plaintiff Carrington filed
 5
        a suit in the Central District of California (the California Suit). During the
 6

 7      California suit, Defendant Judge Failla and Paramount Pictures pressured
 8
        Carrington into withdrawing the suit with prejudice. The cumulation of said
 9

10      event, in turn, clearly violated Plaintiff Carrington’s Right to Redress under the
11
        First Amendment.
12

13      11.     It is well settled that First Amendment rights are not immunized from
14
        regulation when they are used as an integral part of conduct which violates a
15

16
        valid statute. Giboney v. Empire Storage Co., 336 U. S. 490 (1949). Yet,
17      Plaintiff Carrington only attempted to bring claims for true grievances and
18
        asked for meaningful access to the courts as protected by Due Process, to do
19

20      such. He continues to assert the veracity of such emails his attorneys provided
21
        as evidence and denies that he falsified or otherwise altered them in any
22

23      manner. Moreover, as shown in the video, which shall be submitted as
24
        evidence, Plaintiff Carrington was under duress when he entered into the plea
25

26      for the related perjury charge.
27
              IV.   Fifth and Fourteenth Right to Due Process of Law
28
        12. The Fifth Amendment to the United States Constitution provides in part

          that “no person shall be… deprived of life, liberty, or property, without due

                    VERIFIED COMPLAINT FOR DECLARATORY RELIEF AND DAMAGES - 5
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 1        process of law….” U.S. Const. art. I, § 8, cl. 5. This is applied to the States
 2
          through the Fourteenth Amendment. U.S. Const. art. XIV. This clause
 3

 4        promises that before depriving a person of a property interest that person is
 5
          given notice of the actions, and an opportunity to be heard. As a threshold
 6

 7        issue, these interests may only be enforced from deprivation by a state actor.
 8
          Additionally, as shown in detail below, the Americans with Disabilities Act
 9

10        and further the Amendment Act, strengthen the spirit of the Due Process
11
          clause by calling for such access to be meaningful.
12

13      13. Plaintiff Carrington contends that he was not afforded a chance to bring
14
          forth evidence for his claims in the New York Suit, as the independent third-
15

16
          party verifications were not taken as truthful. Despite this evidence, including
17        multiple witnesses who provided declarations to the court, Plaintiff
18
          Carrington was still denied Due Process to bring forth his claims and seek
19

20        redress. This is the property right that is being deprived for Plaintiff.
21
        14. Due Process requires that the procedures by which laws are applied must
22

23        be evenhanded, so that individuals are not subjected to the arbitrary exercise
24
          of government power. This right is a “basic aspect of the duty of government
25

26        to follow a fair process of decision making when it acts to deprive a person of
27
          his possessions.    The purpose of this requirement is not only to ensure
28
          abstract fair play to the individual.     Its purpose, more particularly, is to

          protect his use and possession of property from arbitrary encroachment….”

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 1        Thus, the notice of hearing and the opportunity to be heard “must be granted
 2
          at a meaningful time and in a meaningful manner.” See Armstrong v. Manzo,
 3

 4        380 U.S. 545, 552, (1965); Tumey v. Ohio, 273 U.S. 510 (1927); and In re
 5
          Murchison, 349 U.S. 133 (1982).
 6

 7      15. Plaintiff Carrington was not afforded Due Process due to errors in the
 8
          New York Suit, that took place ultimately led to him being accused of
 9

10        falsifying evidence despite independent verification. On February 7, 2019,
11
          Judge Failla, sitting over the New York Suit, agreed to dismiss the case
12

13        without prejudice if Plaintiff was cleared of falsifying the emails in question,
14
          so that he could re-file his lawsuit in Los Angeles. Plaintiff Carrington agreed
15

16
          to dismiss his request for change of venue in exchange for allowing FTI to
17        mirror image his iPhone and receive his email data from Google, GoDaddy
18
          and Office365, for at-issue-communications only. Judge Failla agreed that
19

20        once this process was completed, if Plaintiff Carrington did not falsify
21
          emails, she would dismiss the case without prejudice, but if it was found that
22

23        he did alter or delete email content, Judge Failla would grant sanctions. On
24
          February 13, 2019, a subpoena was issued to submit the information to the
25

26        neutral third-party forensic expert, FTI.
27
        16. Yet, amid this one-sided investigation, Google and GoDaddy released raw
28
          data reports to the Defendants attorney, Larry Stein rather than FTI, despite

          the subpoena order strictly stating provide the data to FTI. Google did submit

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 1        1/2 of Carrington’s data reports to FTI, only after Carrington exchanged
 2
          several emails with Google’s legal department, who stated they were giving
 3

 4        his data to Larry Stein rather than FTI. FTI eventually cleared 3/3 of Plaintiff
 5
          Carrington’s data reports of no wrongdoing after Carrington provided FTI the
 6

 7        data illegally collected by Larry Stein, who provided the data to Variety and
 8
          The Hollywood Reporter, in order for both publications to publish the
 9

10        sensitive data and claim a forensic expert discovered Carrington faked emails
11
          to back false rape accusations. The Defendants sought sanctions and, in their
12

13        brief, filed their own falsified conclusions of the raw data to prevent
14
          Carrington from dismissing the New York case without prejudice as promised
15

16
          by Judge Failla. This is the crux of the issue, which caused Plaintiff
17        Carrington to have perjury charges filed against him, as he named Judge
18
          Failla as a Defendant in the California Lawsuit. Carrington wishes to prove
19

20        that he has not committed any falsehoods and be permitted to seek justice for
21
          his original claims.
22

23      17. Moreover, on September 11, 2020, almost a year after the original case
24
          ended, Judge Failla filed a permanent injunction against Plaintiff Carrington
25

26        in the New York Suit, which barred him from further attempting to bring his
27
          claims. The injunction was granted after Judge Failla and the defendants
28
          learned they would be sued in Los Angeles federal court for the fraud

          committed in the New York case.

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 1      18. All parties were sued regardless as the permanent injunction was only
 2
          granted by Judge Failla to prevent Carrington from exposing her bias conduct
 3

 4        and fraud, consisting of her deleting the defendants’ falsified documents from
 5
          the docket within the same hour Carrington filed the authentic review of his
 6

 7        raw data. Carrington’s documents also exposed the defendants of disobeying
 8
          the subpoena order and using their relationships with Variety and The
 9

10        Hollywood Reporter to defame him.
11
        19. Judge Failla willingly violated federal procedure throughout the New York
12

13        case, in order to protect the defendants, allowing Brian Graden to continue
14
          sexually abusing male minors of color.
15

16
        20. Once the suit was filed in Los Angeles, Judge Failla and her co-
17        defendants, including Larry Stein, Carrington’s former attorney and sexual
18
          abuser, made threats toward Carrington and his attorney via court orders and
19

20        emails to dismiss the case with prejudice or be jailed and his attorney fined
21
          $500 per business day until the case was dismissed with prejudice.
22

23      21. Once Judge Failla helped herself and her co-defendants holding
24
          Carrington and his attorney in contempt for filing the California case, she set
25

26        February 22, 2021 as the date for Carrington to self-surrender and for fines of
27
          $500 per business day to begin accruing against his attorney if they did not
28
          dismiss the California case with prejudice by that date.

        22. During the contempt hearing, Carrington’s attorney raised his health

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 1         problems, which prevented him from going outside his home during Covid
 2
           19. Judge Failla swiftly requested Carrington’s health records, which she
 3

 4         ultimately used against Carrington in order to get him to dismiss his case
 5
           against her and her co-defendants, denying his request for in-home
 6

 7         incarceration.
 8
         23. Judge Failla ordered U.S. marshals to Carrington’s home, and stated they
 9

10         could use necessary force to enter and arrest him, if he did not submit a
11
           dismissal with prejudice in the California case. Judge Failla’s repeated threats
12

13         caused Carrington to withdraw his California suit as his health would have
14
           turned fatal if contracted Covid 19. This is the crux of the case at hand, as
15

16
           Judge Failla was a named Defendant in this suit, and she ordered the
17         permanent injunction, a year after dismissing the New York suit with
18
           prejudice (despite her prior agreement to dismiss without prejudice so that
19

20         Plaintiff could refile), which was after she discounted FTI’s independent
21
           investigation that showed his emails submitted as proof were not found to
22

23         have been falsified. The cumulative effect of these events caused a
24
           deprivation of Plaintiff Carrington’s rights as described above.
25

26       24. In civil cases, a balancing test is used to see if Due Process was infringed
27
           upon, that evaluates the government’s chosen procedure with respect to the
28
           private interest affected, the risk of erroneous deprivation of that interest

           under the chosen procedure, and the government interest at stake.           See

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 1         Mathews v. Eldridge, 424 U.S. 319, 335 (1976). Plaintiff Carrington is now
 2
           facing a deprivation of his liberty through perjury charges due to the actions
 3

 4         of the above-captioned Defendants. This is a serious private right, which the
 5
           government chose procedure infringed upon and is still a looming issue that
 6

 7         must be rectified. The chosen procedure grossly outweighs Plaintiff
 8
           Carrington’s freedom.
 9

10       25. The Hollywood Reporter, Variety, and other publications stated Plaintiff
11
           pled guilty, as he faked emails that led to his arrest, however The Hollywood
12

13         Reporter and Variety have known since becoming familiar with Carrington
14
           that his claims are authentic and here lies a Hollywood machine by the name
15

16
           of National Amusements, Inc., Paramount Global and Paramount Pictures,
17         using their powerhouse attorneys and assets to obliterate a male victim who is
18
           courageous enough to reveal his sinister abuse, starting at the age of 17,
19

20         inflicted by Sumner Redstone, Brian Graden, Brad Grey, Sumner Redstone,
21
           Harvey Weinstein and Larry Stein.
22

23          V.     Referenced Sexual Abuse from Carrington’s Los Angeles Suit -
24
                   Showing background into why the Defendants would commit
                   fraud to conceal Carrington’s claims.
25

26       26. In the world of show business there are several executives who operate
27
           and control what is placed on the big and small screen until they are
28
           dethroned or deceased. These executives abuse power by forcing talent to

           comply with rules to gain remarkable success or become an entertainment


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 1         mogul. They include Sumner Redstone, Harvey Weinstein, Brad Grey, and
 2
           Brian Graden. Rovier Carrington had the misfortune of involvement with all
 3

 4         four moguls throughout a ten-year period while attempting to build his
 5
           producing and screenwriting career.
 6

 7       27. Mr. Carrington became a chess piece in Redstone’s board game company,
 8
           National Amusements, Inc. Through National Amusements, Redstone
 9

10         controlled Viacom CBS, Paramount Pictures, MTV, Paramount Network,
11
           Brad Grey, Brian Graden, Harvey Weinstein and all actors, producers,
12

13         directors and executives under the National Amusements umbrella. Redstone
14
           also controlled Carrington with strings that came with consistent instructions
15

16
           and limited movement outside of his control. Utilizing his controls, Redstone
17         compelled Carrington into situations that resulted in sexual violence
18
           committed by himself, Grey, Graden, Weinstein, and others, which were later
19

20         covered up with threats, physical force, and lawyers not afraid to commit
21
           fraud and defamation to silence a victim.
22

23       28. At the age of 16, Carrington formed a relationship with a variety of
24
           executives at Viacom (Paramount Global). Once Carrington, age 22, was
25

26         introduced to Sumner Redstone, Redstone viewed Carrington as “boyfriend
27
           material” for his many executives to share for romance and creative ideas.
28
           Redstone was among the small number of Hollywood moguls who decide the

           next Hollywood Star. Redstone also chose the love interest for his executives.

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 1         Carrington was placed in the love interest category with potential to become
 2
           a star due to his exotic appearance. Redstone, Weinstein, Grey and Graden
 3

 4         continually told Carrington that his mixed features and skin tone afforded
 5
           him the opportunity to make it in the entertainment business. They all
 6

 7         demanded that Carrington never allow his skin tone to darken, as appearing
 8
           “too black” would turn them off and end his career.
 9

10       29. Brian Graden is known for the weekly sex parties at his Hollywood Hills
11
           home, which, Brad Grey and Sumner Redstone attended regularly until their
12

13         recent deaths. These parties provide teenage boys, celebrity men, alcohol, and
14
           drugs to be shared amongst many seasoned executives and employees under
15

16
           Viacom CBS, Paramount, MTV, VH1, Logo and other sister companies. The
17         parties are usually filmed to blackmail certain executives and employees, as
18
           well as the celebrities in attendance, so that favors are owed and control is
19

20         provided to Graden and the higher-up executives at Viacom CBS, (Paramount
21
           Global).
22

23       30. Carrington was manipulated into sex parties hosted by Redstone,
24
           Weinstein, Grey and Graden for their entertainment and to own his freedom.
25

26         In show business, people arrange compromising incidents, placing you at
27
           their mercy: Carrington was drugged, sexually abused, and recorded on film.
28
           He was told that if he were to disobey or become disloyal, the videos of his




                  VERIFIED COMPLAINT FOR DECLARATORY RELIEF AND DAMAGES - 13
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 1         sexual abuse would be released, ruining his image and opportunities in the
 2
           business.
 3

 4                               Brian Graden in Summer 2006
 5
         31. In late June or early July 2006, 17-year-old Rovier Carrington was
 6

 7         recruited by several executives at Viacom CBS in Santa Monica, California,
 8
           to film an episode of MTV’s “Parental Control” & “Next.” Carrington was
 9

10
           introduced to Brian Graden, the President of Programming for MTV, VH1,
11         CMT and later, LGBT channel, Logo. Graden asked Carrington his age, to
12
           which Carrington said 17. Graden told Carrington of his power at Viacom
13

14         CBS, and invited Carrington to dinner at a restaurant to discuss opportunities
15
           with Viacom CBS. Carrington accepted Graden’s offer, meeting him later that
16

17         evening at his Hollywood Hills home.
18
         32. Carrington arrived with friend who watched Graden greet Carrington as
19

20         he welcomed him into his home alone. Graden initially discussed business
21
           with Carrington in his living room, prior to moving to personal information,
22

23         such as Carrington’s romantic affairs. Carrington stated he had a long-term
24
           girlfriend, as Graden disappeared into the kitchen to pour Carrington a
25

26         cocktail, which Carrington did not realize was drug infused. Once Graden
27         returned, he boasted of his development role in the TV series “South Park.”
28
           Graden insisted that Carrington drink his cocktail. Apprehensive, Carrington

           began to drink. Graden came closer to Carrington after two sips. Graden


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 1         asked if Carrington still wanted dinner, but before Carrington could respond,
 2
           Graden suggested they stay in. Carrington said he felt ill, as his body
 3

 4         temperature rose, and his head began spinning. Carrington attempted to
 5
           stand, but he couldn’t maintain his balance. Carrington expressed his terrible
 6

 7         state, but Graden ignored him and began French kissing Carrington.
 8
           Carrington’s vision became blurred as he fell onto the couch. Graden picked
 9

10         up Carrington’s immobilized body and carried him into an upstairs bedroom,
11
           placing him onto the bed. Graden removed his clothing, sliding into bed with
12

13         Carrington. Carrington repeated his horrible state and protested, but Graden
14
           began removing Carrington’s clothes while saying, “You need air after
15

16
           drinking too much.” Carrington said, “Stop.” Graden’s predatory conduct
17         increased, as he double slapped Carrington’s face “for denouncing him.”
18
           Carrington began going in and out of consciousness. Graden whispered into
19

20         Carrington’s ear, “Other boys your age obey orders.” Graden shoved his
21
           unprotected penis into Carrington’s rectum several times. Carrington begged
22

23         Graden to stop, however Graden continued the sexual abuse. Carrington yet
24
           again went in and out of consciousness, which infuriated Graden. Graden
25

26         began slapping and choking Carrington, yelling “Wake up.” “Enjoy daddy’s
27
           raw cock.” Graden filmed every moment of Carrington’s traumatic first
28
           sexual encounter. Graden ejaculated inside Carrington’s rectum before

           allowing him freedom to move. Carrington managed to crawl into Graden’s

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 1         master bathroom, as Graden lay naked on the bed. Carrington discovered he
 2
           suffered massive blood loss and damage to his rectum, requiring weeks to
 3

 4         heal. Once Carrington emerged from the bathroom, Graden smiled and said,
 5
           “You did great.” Graden grabbed Carrington’s clothes and said, “You should
 6

 7         leave.” Graden told Carrington, “You’ll be a star, if you keep quiet about our
 8
           encounter.” Graden kissed Carrington’s forehead and said, “This better stay
 9

10         between us.”
11
                          October 2010 Paramount Pictures, Sumner Redstone
12

13       33. Rovier Carrington created, produced, and starred in “The Life of a
14
         Trendsetter,” a reality show that Carrington uploaded to youtube.com on
15

16
         October 21, 2010, which caught the eye of Paramount’s Executive Producer
17       and Casting Director, Reno Logan. Logan called the same day of the
18
         uploading, requesting that Carrington appear at Paramount the following day
19

20       (Oct 22) to discuss signing the show.
21
         34. Tony DiSanto, MTV’s President of Programming, also contacted
22

23       Carrington about an offer to sign Trendsetter. Logan told Carrington that with
24
         his Executive Producer title at Paramount, he could be an asset to Carrington’s
25

26       career. Logan shared ideas for Carrington to improve “The Life of a
27
         Trendsetter,” before moving forward with Tony DiSanto’s offer. Logan desired
28
         an Executive Producer title on the show, in addition to Executive Producing

         Carrington’s dark comedy “Inheritance,” which Carrington was building while

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 1       on the reality show. Logan wanted Paramount to sign “Inheritance,” which
 2
         would have been a crossover and lucrative deal. Logan presented Carrington to
 3

 4       other executives at Paramount because, according to Logan, Carrington was
 5
         “alluring and appeared underage.
 6

 7       35. Logan utilized Carrington’s appearance and projects to book meetings with
 8
         Sumner Redstone, now deceased. Redstone loved the idea of owning
 9

10       Carrington’s cutting-edge projects under Viacom CBS, which he felt would
11
         produce revenue in the millions for National Amusements, Inc.
12

13       36. Logan began sending Carrington to more executives, including Sumner
14
         Redstone, who called him “brilliant” and “adorable.” Redstone reviewed
15

16
         Carrington’s show content and demanded he get an office on the lot. On
17       October 25, 2010, Redstone asked Carrington for a private meeting to discuss
18
         him “joining the family.” Logan pushed Carrington to meet with Redstone, as
19

20       he could elevate both of their careers and “green light” production on
21
         Carrington’s shows. Logan didnt elaborate on what to expect but told
22

23       Carrington to “obey Mr. Redstone.”
24
                     October 27, 2010, Sumner Redstone at Paramount
25

26       37. On or about October 27, 2010, Carrington was driven to Paramount by a
27
         personal town car sent by Redstone. Carrington’s manager and a friend
28
         followed in a separate car. Carrington arrived at Paramount to meet Redstone

         for a one-on-one business meeting, which occurred within Redstone’s town

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 1       car. Redstone’s driver stood outside the car once Carrington entered the
 2
         backseat with Redstone. Redstone inquired about Carrington’s loyalty.
 3

 4       Redstone said loyalty is rewarded with green lighting projects and if
 5
         Carrington wanted to be rewarded, he should be in concurrence. Carrington
 6

 7       told Redstone loyalty is fine, if Redstone didn’t allow his executives to
 8
         sexually assault him, such as Brian Graden raping him when he was a minor.
 9

10       Redstone stated that Graden was lucrative to him, he supports everything
11
         Graden does, and Carrington should too, if he were to “join the family.”
12

13       38. Redstone asked: “Was Brian [Graden] your first?” and “How old were
14
         you?” Carrington said: “Yes. 17.” Redstone said: “You still appear 17. Don’t
15

16
         tell people otherwise.” Redstone asked: “How good was the sex?” and “Did
17       Brian leave a gift in you?” Carrington attempted to exit the car as he was
18
         uncomfortable, but the child lock prevented him. Redstone: “Not so fast.”
19

20       Redstone grabbed Carrington’s face and said harshly: “Don’t disrespect me.”
21
         Redstone began to massage Carrington’s thighs and undo his belt and jeans.
22

23       Carrington asked Redstone not to touch him. Redstone slapped Carrington’s
24
         mouth and said, “Relax.” Redstone pulled Carrington’s pants and briefs below
25

26       his knees, grabbing Carrington’s penis with his rough and cold hands.
27
         Carrington declined Redstone, but he continued massaging his penis and
28
         testicles. Redstone spat on Carrington penis several times. Redstone said

         Carrington had “A perfect Jewish dick.” Redstone continued massaging

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 1       Carrington while demanding: Carrington would meet someone very important
 2
         soon and he better obey all orders and remain loyal to him, or else. Once
 3

 4       Redstone finished assaulting Carrington, he alerted his driver to unlock the
 5
         door. Redstone smiled at Carrington and said, “Loyalty,” as Carrington walked
 6

 7       away fixing his pants. Carrington walked into the arms of his manager and a
 8
         friend as they stood nearby.
 9

10                                November 2010 Reno Logan
11
         39. Carrington and a friend had a meeting with Logan inside his Paramount
12

13       office to discuss Carrington’s reality show. Logan requested Carrington
14
         audition for his upcoming film. Carrington was asked to pretend to be dead, as
15

16
         Logan pretended to shoot him with a gun. The next audition process involved
17       Carrington flirting with Logan. Logan requested Carrington have a few shots
18
         of liquor to get ‘more involved in the scene.’ Carrington began drinking.
19

20       Logan mentioned that Redstone was happy with Carrington. Logan began
21
         massaging his own penis while saying Carrington should cast Logan’s son in
22

23       his reality show, and possibly date him. Logan asked if Carrington was good at
24
         “sucking dick,” and if he could handle his “long and thick dick,” which he
25

26       pulled through his jeans. Logan walked towards Carrington and hugged him
27
         from behind, rubbing his penis against Carrington’s anus. Logan laughed off
28
         his assault, as Carrington pulled away. Logan demanded Carrington make him

         a lot of money with his projects, and insisted Carrington meet with Redstone

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 1       for instructions on how to please a known actor, who had arrived on the lot in a
 2
         red Ferrari.
 3

 4              November 23, 2010, Sumner Redstone MTV/Viacom Contract
 5
         40. On or about November 23, 2010, Sumner Redstone signed an
 6

 7       entertainment contract with Carrington for Viacom to produce Carrington’s
 8
         “The Life of a Trendsetter” with MTV, on condition Carrington gave Redstone
 9

10       creative control of the cast and a percentage of Carrington’s dark comedy
11
         “Inheritance.” Redstone agreed to allow Carrington to film his reality show on
12

13       the Paramount lot, but demanded that Carrington obey his “daily rules,” and
14
         only work with producers Redstone approved.
15

16
                          December 2010 Brad Grey (Deceased)
17       41. Carrington was introduced to Brad Grey (deceased), Chairman/CEO of
18

19
         Paramount Pictures, at Paramount by Sumner Redstone, who demanded

20       Carrington obey Grey’s demands. Grey said he loved fashionable people who
21
         commanded a room as Carrington did. Grey explained his current relationship
22

23       with Cassandra was for appearances, as they were both gay. Grey became
24
         overly touchy with Carrington on the lot, despite Carrington’s decline. Grey
25

26       and Carrington had dinner at the Polo Lounge the same evening. Grey drove
27
         Carrington home and while sitting in front of his place, Grey began forcefully
28
         kissing Carrington. Carrington was highly uncomfortable, but decided to go

         along after Grey threatened to tell Redstone he wasn’t willing to “play the

                  VERIFIED COMPLAINT FOR DECLARATORY RELIEF AND DAMAGES - 20
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 1       game.” Grey told Carrington that he could make or break his career, depending
 2
         on his “participation.” Grey played Usher’s music and pulled out a cigar. Grey
 3

 4       demonstrated with his lips on the cigar what he wanted to do to Carrington.
 5
         Grey pulled Carrington’s jeans down. Grey kept repeating how good
 6

 7       Carrington’s “Jewish dick” tasted. Grey begged Carrington to climax in his
 8
         mouth or else he wouldn’t let him back on Paramount’s lot. Carrington
 9

10       complied.
11
                 December 2010 “The Fighter” Premiere Grauman’s Theater
12

13       42. Carrington arrived with two friends. Carrington was introduced to Mark
14
         Wahlberg, who was always respectful, and assaulted by Redstone. Redstone
15

16
         asked Grey if Carrington was obeying? Grey relayed he was indeed.
17       Carrington told Redstone; Grey forced oral sex. Redstone laughed and stated,
18
         “As he should.” “You better learn to like it, if you want your projects greenlit.”
19

20       Redstone grabbed Carrington’s anus, pulling him from behind and wrapping
21
         his blazer around Carrington. Redstone said he wanted to watch Grey “fuck”
22

23       Carrington inside his home, and it should be arranged before Grey left for New
24
         York.
25

26         January 13, 2011, Brad Grey Management and Development Contract
27
         43. Brad Grey signed a management and development contract for Paramount
28
         Pictures with Carrington on or about January 13, 2011. Grey agreed to manage

         Carrington’s career and appear with Carrington in his reality show “The Life

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 1       of a Trendsetter,” as the executive producer of Carrington’s dark comedy
 2
         “Inheritance.” The reality show would capture the casting, development, and
 3

 4       filming of “Inheritance” at Paramount.
 5
                  January 16, 2011, Golden Globe Awards (Beverly Hilton)
 6

 7       44. Grey requested Carrington’s attendance at the Golden Globes. Carrington
 8
         arrived with his two friends and his manager. Grey introduced Carrington to
 9

10       Chairman and CEO of HBO, Richard Plepler and Cassandra Grey. Grey
11
         requested he and Carrington discuss business in a suite upstairs. Grey’s
12

13       conduct instantly became aggressive once inside the room. Grey held a cigar
14
         and bottle of tequila. There was no mention of business. Grey pushed
15

16
         Carrington onto the floor and held him down while pouring tequila down his
17       throat. Grey pulled his pants and underwear down before pulling down
18
         Carrington’s. Grey shoved his penis in Carrington’s face, as he poured more
19

20       tequila down his throat. Grey constantly repeated how good their “Jewish
21
         bodies felt on one another.” Carrington yelled for Grey to stop, however, Grey
22

23       demanded Carrington show him respect, if he wanted to continue at Paramount
24
         Pictures. Carrington yelled for his manager and friend to help him, as they
25

26       were outside the room. Grey started hitting Carrington in the face and chest to
27
         shut him up. Grey turned Carrington onto his stomach and banged his head
28
         into the floor to weaken him, as he slid his unprotected penis inside

         Carrington’s anus. Grey brutally raped Carrington for 10-15 minutes. Grey

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 1       placed Carrington onto the bed while he was immobilized and bloody. Grey
 2
         placed Carrington’s legs over his shoulders before ejaculating inside him. Grey
 3

 4       told Carrington he loved him but needed him to remain silent about their
 5
         growing relationship, as his public relationship to his fiancé, Cassandra, meant
 6

 7       a lot for his image as a straight man.
 8
                       January 17, 2011, Reno Logan and Sumner Redstone
 9

10       45. Carrington told Logan in detail about Grey raping him, however, Logan
11
         didn’t care and told Carrington, he should be glad Brad Grey chose him.
12

13       Redstone told Carrington he wasn’t “loyal” by continuing to complain about
14
         rape. Redstone said if Carrington didn’t start playing along, he would blacklist
15

16
         Carrington.
17    ///
18

19
                          January 30, 2011, Screen Actors Guild Awards

20       46. Grey introduced Carrington to Harvey Weinstein on January 30, 2011, at
21
         the Screen Actors Guild Awards. Grey told Weinstein that Carrington was a
22

23       new addition to the Paramount family. Grey said Weinstein could be a massive
24
         asset to Carrington’s career, given he helped Grey commence his own career.
25

26       Grey suggested they all work together on Carrington’s dark comedy
27
         “Inheritance.”
28
         47. February 7, 2011, Audi and Weinstein party at Chateau Marmot. On

         February 7, 2011, Carrington attended a party at Chateau Marmot hosted by

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 1       Audi and Weinstein. Harvey Weinstein asked Carrington to meet him in a
 2
         private section. Weinstein pinned Carrington in a corner with Carrington’s
 3

 4       friends nearby. Weinstein told Carrington: “I want what Brad raves about.”
 5
         Weinstein called Carrington a “Lenny Kravitz look-alike” and said he would
 6

 7       “have my way with” Carrington later that evening. Carrington avoided further
 8
         contact with Weinstein that evening and left before any unwanted approaches.
 9

10                          February 14, 2011, Sumner Redstone
11
         48. Redstone demanded Carrington meet him outside his Beverly Park Estate
12

13       and ride with him to an invite, however they met on Sunset Blvd. Redstone
14
         told Carrington to wear business casual clothing as they were attending an
15

16
         event. Redstone’s driver opened the backdoor for Carrington to sit with
17       Redstone. Redstone’s face was bleeding on one side, which he kept wiping.
18
         Redstone’s finger was cut with a band-aid halfway on. Redstone forced
19

20       Carrington to apply a new band-aid to his cut finger while Redstone massaged
21
         his own chest with his other hand. Carrington was nervous, as he was unaware
22

23       of Redstone’s mental state. Redstone grabbed Carrington and told him to relax.
24
         49. Redstone’s driver started to drive faster. Carrington was told to continue
25

26       seeing Grey, as Grey was in love with him. Carrington complained about Grey
27
         raping him the month prior. Redstone told Carrington to shut up. Redstone said
28
         Grey and Harvey Weinstein were going to produce his dark comedy

         “Inheritance,” and he should thank him. Carrington thanked Redstone, but

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 1       Redstone wanted an “oral thank you.” Redstone kissed Carrington’s lips and
 2
         demanded Carrington kiss his penis. Carrington could not exit the situation, as
 3

 4       the car was in motion. Once Carrington kissed Redstone’s penis, Redstone told
 5
         Carrington, “You’re welcome.” Redstone’s driver pulled over and released
 6

 7       Carrington from the car.
 8
                 February 25, 2011, Tom Ford Grand Opening Rodeo Drive
 9

10       50. Grey instructed Carrington to meet a “business connection” at the Luxe
11
         hotel next door to discuss “Inheritance.” Harvey Weinstein appeared at the bar
12

13       with a room key. Weinstein demanded they go upstairs to discuss the show, as
14
         he gripped Carrington’s shoulder with his hand, while rubbing his erect penis
15

16
         into Carrington’s back. Carrington refused to do anything with Weinstein.
17       Weinstein screamed, “Get your ass up.” Weinstein pulled Carrington from his
18
         chair, while his manager was present. Weinstein said Redstone and Grey would
19

20       hear about his refusal. Weinstein called Carrington a “Stupid fucking bitch
21
         who’s going to be sorry.” Grey scolded Carrington in front of his fiancé
22

23       Cassandra for declining Weinstein.
24
                             February 27, 2011, Vanity Fair party
25

26       51. Carrington and his friends encountered Sumner Redstone and his grandson.
27
         Redstone expressed Carrington’s sexual declines to Grey and Weinstein were
28
         keeping him from succeeding. Redstone threatened to have Carrington

         psychically harmed by a “fixer” if he continued discussing being assaulted by

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 1       himself and Grey. Redstone said he and others could touch Carrington
 2
         whenever the fuck they wanted. Redstone proceeded to spit in Carrington’s
 3

 4       face and threatened to blacklist and sue him if he didn’t “alter his thinking.”
 5
                                  February 2011 Tony DiSanto
 6

 7       52. Tony DiSanto, MTV’s President of Programming after Brian Graden’s exit,
 8
         offered Carrington a recurring role on a new series set to film in Atlanta
 9

10       entitled “Teen Wolf.” DiSanto Executive Produced the series and attempted to
11
         purchase Carrington’s silence after DiSanto came onto him. DiSanto expressed
12

13       his friendship with Brian Graden and how they shared young men in the past,
14
         but DiSanto stopped engaging after becoming a family man. DiSanto said, he
15

16
         wishes he could have shared Carrington with Graden or now if possible.
17       DiSanto apologized for his behavior and began making phone calls to the head
18
         casting director to arrange further movement for Teen Wolf, but Carrington
19

20       refused the role to remain in Los Angeles for his reality show and dark
21
         comedy.
22

23                                March 2011 Shari Redstone
24
         53. Carrington spoke with Shari Redstone to discuss her father, Sumner
25

26       Redstone, Brad Grey and Harvey Weinstein sexually assaulting him. Shari
27
         Redstone promised Carrington the sexual assaults would end and thanked him
28
         for telling her. However, they did not end.

                          April 2011 Brad Grey and Sumner Redstone

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 1       54. Carrington met with Grey and Redstone at Grey’s Holmby Hills estate in
 2
         the late morning, just days before Grey’s wedding to Cassandra. During the
 3

 4       meeting, Redstone and Grey told Carrington that a “business meeting” had
 5
         been set up at the Peninsula Hotel in the afternoon with Harvey Weinstein, who
 6

 7       was in town for his movie premiere, “Hoodwinked Too!” saying, “Harvey
 8
         agreed to sign onto ‘Inheritance’ as an executive producer.” Redstone said: “If
 9

10       you want to be taken seriously as a screenwriter, having Grey and Weinstein
11
         attached would solidify your career.” They told him that Harvey would have an
12

13       actress there that he was thinking of casting in the production, so the meeting
14
         would be strictly professional. They told Carrington not to leave the meeting
15

16
         until Weinstein had officially signed on.
17       55. Grey then served Carrington a spiked cocktail and insisted that he drink
18
         before sex with them. Grey said their threesome with Redstone would be “your
19

20       wedding gift to me and Cassandra.” Carrington refused. Grey struck
21
         Carrington in the chest, knocking the wind out of him. Redstone reminded
22

23       Carrington that he would have his “fixers” beat him to a pulp if he did not
24
         behave. Redstone then demanded that Carrington strip, while both men
25

26       removed their clothing. Once they were nude, Redstone sat in a chair and
27
         required Carrington sit on his lap. Redstone placed his tongue down
28
         Carrington’s throat while rubbing Carrington’s body in order to gain an

         erection. Once Redstone was erect, Grey rubbed lube onto Redstone’s penis.

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 1       Redstone asked Grey to choke Carrington’s neck while Redstone inserted his
 2
         unprotected penis into Carrington’s anus. Redstone directed Grey to
 3

 4       masturbate while he watched him rape Carrington. Redstone asked Carrington,
 5
         “Do you love being raped?” continuing: “Rape is just sex;” “You love sex;”
 6

 7       “You love rape;” “It’s all the same.” After several minutes of Redstone forcing
 8
         Carrington to ride his penis while facing him, Grey repositioned Carrington’s
 9

10       body to face the opposite direction while Redstone’s penis remained inside
11
         Carrington’s anus. Grey French kissed Carrington before forcing Carrington’s
12

13       head to perform oral sex on Grey. Grey became more aggressive, insisting
14
         Redstone “cum inside his ass before I shove my dick in there.” Redstone
15

16
         proceeded to climax inside of Carrington’s anus while Carrington performed
17       oral sex on Grey. Grey pulled Carrington’s bottom off Redstone’s penis before
18
         placing his penis inside of Carrington anus while standing up. Redstone sat
19

20       back in the chair, holding Carrington’s legs up while Grey positioned himself
21
         in and out of Carrington’s anus. Grey began French kissing Carrington while
22

23       raping him. Redstone cheered Grey on until Grey climaxed inside of
24
         Carrington’s anus and then moved into Carrington’s mouth to finish. Grey
25

26       said: “Swallow my cum, so you remember who owns you.” Redstone
27
         commented calmly: “Loyalty.” Once they allowed Carrington to leave, they
28
         told him to go to the Peninsula Hotel and wait at the hotel bar until Weinstein

         arrived.

                    VERIFIED COMPLAINT FOR DECLARATORY RELIEF AND DAMAGES - 28
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 1                      April 2011 Peninsula Hotel, Harvey Weinstein
 2
         56. Shortly thereafter, Weinstein’s female assistant took Carrington to a suite
 3

 4       upstairs. Carrington had his manager come up with them and stand outside the
 5
         room. Weinstein welcomed Carrington into the room where an unknown
 6

 7       actress lounged. Within minutes of standing in the living room, Weinstein
 8
         offered Carrington a drink as the actress pulled out cocaine. Weinstein instantly
 9

10       removed his pants, despite Carrington saying the meeting was not supposed to
11
         be inappropriate. Weinstein demanded the actress and Carrington snort lines
12

13       from his erect penis before sucking it. Weinstein jerked his penis in between
14
         lines being snorted from his penis by the actress. Weinstein yelled, “Suck it.”
15

16
         Carrington refused. Weinstein became angry, pulling Carrington down by his
17       long hair, forcing Carrington onto his knees. Weinstein held Carrington’s hair
18
         in his hand while pushing Carrington’s mouth into his cocaine-covered penis,
19

20       which displayed blood. Weinstein repeated “Do as you’re told, you know the
21
         rules.” Weinstein pointed to contracts and said we’d discuss business after he
22

23       came. Weinstein released Carrington’s hair from his hand after several minutes
24
         of forced oral sex. Weinstein and the actress disappeared into the bathroom.
25

26       Carrington became lightheaded and sick due to the cocaine. Carrington entered
27
         the next room to lie on the bed in the fetal position, which helped decrease the
28
         pain. Carrington hoped Weinstein would have sympathy for his pain and focus

         on business, as he was not to leave until Weinstein signed onto “Inheritance.”

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 1       57. Weinstein emerged from the bathroom bare; he aggressively turned
 2
         Carrington onto his back with his knees pointed up. Weinstein got on top of
 3

 4       Carrington with an erect penis and lied in between his legs with his penis
 5
         rubbing against Carrington’s anus. Weinstein kissed and licked Carrington’s
 6

 7       face and lips. Weinstein lifted himself, as he held Carrington down with one
 8
         hand. The actress assisted Weinstein in removing Carrington’s drivers and
 9

10       pants. Carrington couldn’t remove Weinstein’s heavy hand to prevent his
11
         actions, so he shouted for them to stop. The actress removed Carrington’s
12

13       briefs to his ankles. Weinstein lay back in between Carrington’s legs as his
14
         knees were pointed up. Carrington tried pushing Weinstein off, but his weight
15

16
         overpowered him. Carrington begged Weinstein to stop multiple times.
17       Weinstein said, “After I cum, boy.” Weinstein ripped Carrington’s briefs from
18
         his ankles and began licking his fingers as he repeatedly placed them inside
19

20       Carrington’s anus.
21
         58. Weinstein spat on his unprotected erect penis before impelling Carrington’s
22

23       anus. Carrington screamed through the pain while trying to wiggle from under
24
         him, as Weinstein ripped tissue while going in and out. Weinstein became more
25

26       aggressive and livider with Carrington, wishing he’d enjoy the rape. Weinstein
27
         kept telling Carrington how good he felt. Weinstein finally ejaculated inside
28
         Carrington, which weakened him and allowed Carrington to wriggle away.

         Carrington grabbed his clothes and ran out of the hotel despite Weinstein

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 1       saying he’d ruin his career. Weinstein followed Carrington while bare,
 2
         screaming, “You’re fucked.” “I’m an important man.” Carrington complained
 3

 4       to Brad Grey and Sumner Redstone, but they didn’t help. Carrington
 5
         complained to Reno Logan, but he told Carrington to remain silent yet again.
 6

 7               May 5, 2011, Beverly Wilshire Hotel Grey, and Tom Cruise
 8
         59. Newly married Grey introduced Carrington to Tom Cruise and his family.
 9

10       Cassandra Grey was intoxicated while speaking to Carrington about her
11
         husband’s love affair with Carrington. Tom Cruise inserted himself into the
12

13       conversation and asked Carrington for a threesome with Grey later that
14
         evening. Cruise said, “I heard how tight and warm your ass is.” Cruise pulled
15

16
         Grey closer and whispered to Carrington, “I want to fuck you with both our
17       dicks inside you at the same time.” Grey offered to host the threesome that
18
         evening as a gift to Tom Cruise for his special day, but Carrington managed to
19

20       bow out that evening.
21
                 June 8, 2011, Regency Village Theater “Super 8” premiere
22

23       60. Grey pushed Carrington against the bathroom wall, kissing his face and
24
         lips while begging him to be his boyfriend. Grey offered Carrington trips
25

26       around the world on the jet and shopping after visiting countless museums, but
27
         Carrington declined and relayed, he wasn’t interested and only wanted his
28
         shows produced. Grey became angry, mentioning their shared gatherings with

         several known actors, producers, and directors, but Carrington declined him

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 1       again. Grey grabbed Carrington’s penis, licked his face, and stated, “You’ll
 2
         never work again.” “You don’t listen.” “I have you by the balls.” Grey pushed
 3

 4       Carrington to the floor in front of Carrington’s manager and the Vice Chairman
 5
         of Paramount, Rob Moore.
 6

 7                                   July and August 2011
 8
         61. During July and August 2011 Grey and Redstone appeared separately a few
 9

10       times at Carrington’s condominium in the Hollywood Hills, demanding that
11
         Carrington sign a Non-Disclosure Agreement (“NDA”) and delete the emails
12

13       and text regarding their sexual abuse. Carrington declined each time.
14
              October 3, 2011 “Footloose” Premiere at Regency Village Theater
15

16
         62. Carrington and friends encountered Redstone and Grey at the Premiere of
17       “Footloose” at the Regency Village Theater on October 3, 2011. In the
18
         presence of Grey and Carrington’s friends, Redstone offered Carrington $30
19

20       Million as a settlement for the “rape,” but told Carrington he could not pursue
21
         a career in entertainment if he were to accept. Carrington declined, causing
22

23       contention between himself, Redstone, and Grey. Redstone threatened to sue
24
         Carrington, as he was still under contract. Grey threatened to ruin Carrington’s
25

26       life with the assistance of the “fixers” on payroll at Paramount. Redstone
27
         chimed in, “You’re not fully white,” “No one will believe you,” and in a long-
28
         drawn-out comment: “Black... listed.” Carrington soon discovered that his

         career had been blacklisted from all National Amusements, Inc. owned

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 1       companies as well as other major studios.
 2
                                    June - July 2014 HBO
 3

 4       63. In June and July of 2014, Michael Lombardo, the President of
 5
         Programming at HBO, fell in love with Carrington’s dark comedy
 6

 7       “Inheritance.” Lombardo told Carrington he loved his writing and storytelling
 8
         style and wanted to make an offer to sign the series. After two months of
 9

10       promises, Lombardo told Carrington that he would not move forward with the
11
         offer because of Sumner Redstone and Brad Grey, who used their power to
12

13       prevent the deal. Grey held major influence at HBO, Executive Producing such
14
         shows as “The Sopranos” and “Real Time with Bill Maher” for HBO.
15

16
                                 August 2014 - Brian Graden
17       64. Brian Graden reemerged into Carrington’s life after reaching out to
18
         apologize for sexually abusing him while he was a minor. Graden pleaded for
19

20       Carrington’s forgiveness and promised to Executive Produce Carrington’s
21
         reality show “The Life of a Trendsetter,” if Carrington were to depart his
22

23       current working relationship with two prominent Producers and his affluent
24
         and well-known cast. Carrington expressed Sumner Redstone and Brad Grey
25

26       held him on the National Amusements, Inc. blacklist and ruined his working
27
         relationship with HBO, by which Graden promised to help remove Carrington
28
         from Redstone’s blacklist. Graden persuaded Carrington to allow him full

         control of his career and become his “additional boyfriend,” as Photographer

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 1       Ted Sun was the first. Graden explained that Ted Sun arranged and filmed their
 2
         sex parties at Graden’s Hollywood Hills home, but Graden didn’t have an
 3

 4       emotional connection with Sun, which he said he desired with Carrington.
 5
         65. Graden found Carrington to be intelligent, fashionable, and compassionate,
 6

 7       which caused Graden to fall in love. Graden and Carrington entered a two-year
 8
         personal and business relationship, ending in the summer of 2016 after
 9

10       Carrington realized Graden stole his reality show concept “Finding Prince
11
         Charming” and sold it to Logo Network.
12

13                 October 1, 2014, Brian Graden’s Hollywood Hills home
14
         66. Graden insisted he and Carrington discuss business by the pool with
15

16
         cocktails. Graden announced an offer he received to be the President of
17       Programming for the Discovery Channel. Graden expressed his excitement for
18
         the offer and for Carrington’s new reality show with Lawrence Fishburne’s
19

20       daughter, Montana Fishburne.
21
         67. Graden suggested they continue talking inside the pool. Carrington entered
22

23       the pool with swimwear, Graden followed bare. Carrington expressed his
24
         reality show ideas with Graden until two older bare men exited the guesthouse.
25

26       Carrington inquired who the men were, but Graden exited the pool to prepare
27
         new cocktails. Graden returned and insisted Carrington drink the cocktail
28
         before they entered the guesthouse alone. Unbeknownst to Carrington, the

         cocktail was laced with drugs, causing Carrington to feel highly sexual and

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 1       lightheaded. Carrington became numb while on the bed with Graden. Graden
 2
         expressed his love for Carrington as he removed his swimwear. Graden
 3

 4       conducted multiple sex acts before entering Carrington’s rectum unprotected.
 5
         Graden ejaculated inside of Carrington’s rectum without permission. Graden
 6

 7       allowed the bare men to enter the guesthouse with a camera. Carrington was
 8
         impaired due to the laced drink but was able to beg the men to stop. Both men
 9

10       ignored Carrington’s request and took turns inside his rectum unprotected,
11
         despite his continuous protests. Graden filmed the encounter while both men
12

13       “double penetrated” Carrington’s rectum at once (one from behind the victim
14
         and one from below), an extremely painful experience. Graden demanded that
15

16
         if Carrington wishes for him to continue with his offer to produce his dark
17       comedy and reality show, Carrington should accept all his fantasies. Both men
18
         then ejaculated inside of Carrington. Graden told Carrington “Loved every
19

20       time, but this was the best.”
21
                         April 22, 2015, Contract signing with Graden
22

23       68. Late in the afternoon of April 22, 2015, Carrington met with Graden alone
24
         at the Mondrian Hotel in West Hollywood. At this meeting, Graden started out
25

26       with cocktails which had been prepared prior to Carrington’s arrival, assuredly
27
         with GHB. After a drink, Graden presented two contracts to Carrington,
28
         explained to Carrington what they (presumably) meant. Carrington did not

         fully read them. He told Carrington that one was with Brian Graden Media to

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 1       produce Carrington’s reality show and his dark comedy, and the other was a
 2
         Non-Disclosure Agreement (“NDA”) which Graden required before he would
 3

 4       sign the production contract. He explained that as a condition, the production
 5
         contract required full control of Carrington’s career and his email passwords.
 6

 7       The NDA covered Graden’s underage sex with Carrington and all other sexual
 8
         contacts with Viacom CBS personnel. The contracts were fully executed, and
 9

10       Carrington gave Graden his password.
11
         69. Graden immediately went into Carrington’s cell phone and deleted all
12

13       emails implicating Sumner Redstone, Brad Grey, and Harvey Weinstein, as
14
         they required to remove him from the Blacklist. Thereafter, Graden plied
15

16
         Carrington with another cocktail and said: “Leave me with something to
17       remember, since you’re going to Palm Beach tonight,” followed by his usual
18
         sexual abuse. Upon leaving the meeting, Carrington did not receive copies of
19

20       the contracts. In fact, he never received copies.
21
                              June 6, 2015, Brian Graden’s house
22

23       70. Graden prepared cocktails while demanding that Carrington’s publicists
24
         build his image for Carrington to star in “Finding Prince Charming.” The
25

26       business discussion turned into sex. During sex, Carrington felt his heartbeat
27
         and body temperature increasing. Carrington expressed he felt he was dying
28
         and wanted to call an ambulance. Carrington exited the bed, searching for his

         iPhone. Graden took Carrington’s iPhone, refusing his call for help.

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 1       71. Graden placed Carrington inside the shower, as he stood inside with him.
 2
         Carrington lay on the floor with hard pressure water constantly covering him.
 3

 4       Graden began having sex with Carrington, but Carrington could not endure the
 5
         intercourse. Graden became aggressive, telling Carrington to leave, as he
 6

 7       didn’t want him to “die in his home.” Graden begged Carrington not to see a
 8
         doctor if he wanted Graden to proceed with producing his finding love reality
 9

10       show. Graden said the following to Carrington that night:
11
                 “I drugged you to increase the sex.”
12               “Papi wanted his Prince to take his dick all night.”
13               “Please don’t call 911. I can get into trouble if you say I drugged
                 you.”
14
                 “I have shows airing right now. You won’t get a show if you tell.”
15               “Don’t ruin daddy. You love Daddy right?”
16               "You’re Daddy’s good nigga right?”
                 "I love you my Prince.”
17
                 Once the drugging wore off, Graden said, “Glad you feel better.”
18

19    ///
                               June 2015 Brian Graden’s house
20

21       72. Graden held a party at his home, which Carrington arrived at with three
22
         friends. The party was advertised as an entertainment party, but Carrington
23

24       discovered it was a sex gathering with underage boys and several Executives
25
         under Viacom CBS. After seeing Graden and several underage boys,
26

27       Carrington attempted to leave. However, Graden became argumentative and
28
         abusive. Graden slapped and choked Carrington in front of his friends. Graden

         told Carrington if he shared witnessing Graden and several know figures


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 1       performing sex acts with the boys, Graden wouldn’t produce his shows, despite
 2
         the recently signed contracts. Carrington was told, “He’d be blacklisted again,
 3

 4       and Sumner Redstone would make it permanent this time.”
 5
                               June 2016 Brian Graden’s house
 6

 7       73. Graden apologized to Carrington for all the physical and sexual abuse he
 8
         committed, as well as several men employed by Graden who inflicted indelible
 9

10       scars onto Carrington. Graden expressed his distaste for the Redstones, as he
11
         wished to get out of their working relationship to focus on his unrevealed
12

13       music career. Graden ripped up Carrington’s NDA and business contract and
14
         threw them away, freeing Carrington to sign and produce shows with other
15

16
         studios. Graden said he signed a new reality show with Logo Network thanks
17       to the “new rhythm” Carrington provided him, but he couldn’t go into details,
18
         other than Logo’s hesitation about Graden’s escort, Robert Sepulveda Jr.,
19

20       starring in the show. Graden said Logo’s executives knew Graden and his other
21
         boyfriend, Ted Sun, participated in filmed sex with Robert, causing their fear
22

23       of a scandal and lawsuit. Graden said a famous figure would also be joining the
24
         show.
25

26       74. Carrington went through Graden’s iPhone and MacBook Air to get details
27
         about the show and discovered videos of his sexual assaults, from the time he
28
         was underage until recently, as well as other young men. Carrington demanded

         that Graden erase the videos, but he refused. The videos pictured Graden and

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 1       other executives participating in the acts of sex, including Graden’s attorney,
 2
         Larry Stein. Stein kissed Carrington and committed anal intercourse (penile
 3

 4       penetration into Carrington in both the missionary position and ‘doggie style,’)
 5
         and with other teenage boys, all while the victims were unconscious. Graden
 6

 7       threatened to show the videos of Carrington to other Executives if he
 8
         mentioned the video collection or tried writing about their relationship on his
 9

10       website “TheCarringtonDiaries.com" or inside one of his screenplays.
11
                                 November 6, 2016 Brad Grey
12

13       75. Brad and Cassandra Grey approached Carrington and his friend at “Dan
14
         Tana’s” in West Hollywood, CA. Grey asked how Carrington’s career was
15

16
         going after Grey had seen him on red carpets and in interviews promoting his
17       website, “TheCarringtonDiaries.com.” Grey demanded Carrington come back
18
         into his life and leave Graden if he wanted things to be easier for himself. Grey
19

20       grabbed at Carrington’s penis and relayed, “I miss our Jewish bodies rubbing
21
         against each other.” Grey suggested Carrington join him in China for the
22

23       premiere of Paramount’s new film “Allied,” as Cassandra wouldn’t be
24
         attending. Carrington told him: “Fuck off. I haven’t forgotten how you raped
25

26       me and blacklisted my career.” Grey relayed, “Your career won’t succeed
27
         without me or Paramount fucking you. Fuck your career.” “No one with a
28
         name will touch you, but you know that from experience.” Grey laughed about

         Graden producing “Finding Prince Charming” without Carrington as the star.

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 1       Grey shared, “Brian shared videos of him fucking you,” “I came while
 2
         watching every video.”
 3

 4                           November 6, 2016: The Polo Lounge
 5
         76. Carrington had dinner with friends after his encounter with Brad Grey.
 6

 7       Grey’s close friend, Bob Saget, arrived with John Mayer and another
 8
         gentleman and sat right next to Carrington’s booth. Saget made derogatory
 9

10       remarks to Carrington, causing Carrington to excuse himself from the table.
11
         Saget then followed Carrington into the restroom, calling him a “whore” and
12

13       “cocksucker,” saying, “You like sucking cock, right? Suck mine. I know you
14
         do it well.” He cornered Carrington, pushing him onto the sink, and said,
15

16
         “Treat me like Brad.” When someone entered the restroom, Saget left.
17       Carrington returned to his table and had to tolerate Saget continuing derogatory
18
         comments until John Mayer told him to stop.
19

20                          June 2016: Graden Steals Carrington Shows
21
         77. In June 2016, Graden signed “Finding Prince Charming,” whereby Logo
22

23       Network agreed to premiere the show on their network, with Graden as the
24
         creator and Executive Producer. Graden stole the show from Carrington.
25

26       Promotion for the show came out in July 2016. Finally, after a year of not
27
         talking to Graden, in August 2017, Carrington confronted Graden for stealing
28
         “Finding Prince Charming.” Graden admitted that he stole it and gave the

         starring role to his escort, Robert Sepúlveda, Jr. Graden’s attorney, Larry Stein

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 1       assisted Graden in concealing his admission, in exchange for Graden’s offer to
 2
         Executive Produce Carrington’s new dark comedy “Heiristocracy.” Graden
 3

 4       allowed Carrington creative control and gave him permission to include other
 5
         known Producers, like Darren Stein, who saw it as an opportunity to work with
 6

 7       Graden.
 8
         78. In September 2017 Graden read “Heiristocracy’s” pilot and discovered
 9

10       Carrington had detailed his underage relationship with Graden, in addition to
11
         the sexual abuse Carrington suffered from Brad Grey, Harvey Weinstein and
12

13       Sumner Redstone. Graden punched Carrington in the face multiple times and
14
         threatened to blacklist the show and compelled Darren Stein to decline his
15

16
         Producer offer.
17       79. In October 2017 Darren Stein removed himself from “Heiristocracy” via
18
         email, after Brian Graden’s influence. Within two minutes, Stein sent a follow-
19

20       up email with the exact context minus Brian Graden’s name. Stein had initially
21
         agreed to be attached to “Heiristocracy”
22

23                                  November 2017 Variety
24
         80. Carrington’s publicist reached out to Executive Editor Debra Birnbaum
25

26       regarding Brian Graden’s toxic and inappropriate relationship with Carrington.
27
         Birnbaum and Carrington discussed Graden drugging, raping and physically
28
         abusing Carrington over a 10-year span. Birnbaum learned Graden used

         physical force and blacklisting threats to keep Carrington silent about it.

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 1       Birnbaum spoke with eight witnesses and gathered evidence from Carrington,
 2
         confirming the abuse of Carrington. Birnbaum stated that Carrington was
 3

 4       “Stupid to stay in a relationship with Brian.” Birnbaum confirmed the story
 5
         was printing and she would reach out to Graden for comment.
 6

 7       81. Birnbaum called Carrington and his publicist, revealing that Gene Maddaus
 8
         had taken over the story and sold the evidence to Larry Stein and Brian
 9

10       Graden, as Stein is close friends with Maddaus.
11
         82. After multiple reporters learned of Graden’s proclivity for pedophilia,
12

13       Carrington and his publicist received death threats from Larry Stein and Brian
14
         Graden. When Graden lied to reporters about his relationship with Carrington,
15

16
         one reporter confronted him with evidence: photos, texts, and emails.
17    ///
18

19
      ///

20            VI.   Protections Afforded by the Americans with Disabilities Act
21                  (ADA) and subsequent Amendments Act (ADAAA) Title II of the
                    ADAAA, explain that anyone:
22

23       83. "[W]ho, with or without reasonable modifications to rules, policies, or
24
            practices, the removal of architectural, communication, or transportation
25

26          barriers, or the provision of auxiliary aids and services, meets the essential
27
            eligibility requirements for the receipt of services or the participation in
28

            programs or activities provided by a public entity” must, as a matter of law, be



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 1        provided with those services.     42 U.S.C. § 12131(2).       Case law further
 2
          evidence that:
 3

 4       84. “To prevail on a claim for violation of Title II of the ADA, the Plaintiff
 5
          must show (1) that she is a qualified individual with a disability; (2) that she
 6

 7        was either excluded from participation in or denied the benefits of some
 8
          public entity's services, programs, or activities, or was otherwise discriminated
 9

10        against by the public entity; and (3) that such exclusion, denial of benefits or
11
          discrimination was by reason of the Plaintiff's disability.” Douris v.
12

13        Dougherty, 192 F. Supp. 2d 358, 368 (E.D. Pa. 2002).
14
         85. Plaintiff Carrington has met all of the above requirements, establishing a
15

16
          prima facie case under the Americans with Disabilities Act, and subsequent
17        Amendments (“ADA”). When Plaintiff Carrington was called to answer the
18
          perjury charge, initiated by Judge Valerie Caproni, he submitted his personal
19

20        medical information under seal. These documents established that he is a
21
          person with a disability. Plaintiff submitted such, with a request to be
22

23        permitted to appear by zoom in New York, from California, due to the
24
          Covid-19 pandemic, and its growing cases. He was denied this benefit, and
25

26        ultimately punished for such actions. The sum of these actions has resulted in
27
          a deprivation of Plaintiff Carrington’s liberty, as he ended up pleading guilty
28
          under duress, described in detail below.

         86. As mandated by L.C. v. Olmstead, 138 F.3d 1485 (11th Cir. 1998):

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 1          [T]he states’ need to maintain a range of facilities for the care and treatment
 2          of individuals with diverse mental disabilities must be recognized. In
            determining whether a state can successfully assert a "fundamental
 3
            alteration" defense (i.e., claim that providing community-based services to
 4          an individual would fundamentally alter the state's service-delivery system),
 5          courts must consider not only the cost of providing community-based care
            to the litigants, but also the state's obligation to mete out services to others
 6
            with mental disabilities in an equitable manner.
 7

 8       87. Although Plaintiff Carrington did not directly make a request for
 9
          accommodations, that was the plain meaning of his actions when asking to
10

11        appear remotely for a hearing regarding the perjury charge. Under the ADA, a
12        formal request to the court was not required, as there are no magic words to
13

14
          making a reasonable request. As each courthouse has an ADA coordinator, it

15        was the duty of the judge to recognize an ADA request was being made, and
16
          to contact the court administration.
17

18       88. In University of Alabama v. Garrett, 531 U.S. 356, 363 (2001), the
19
          Supreme Court reaffirmed that Section 5 of the Fourteenth Amendment grants
20

21        Congress the power to abrogate the States’ Eleventh Amendment immunity to
22
          private damage suits. California followed the same in Dare v. California, 191
23

24        F.3d 1167 (1999), cert. denied, 121 S. Ct. 1187 (2001). Title II governs all the
25
          operations of a State, which plainly encompasses state conduct subject to a
26

27        number of other constitutional limitations embodied in the First, Fourth, Fifth,
28
          Sixth, Seventh, and Eighth Amendments and incorporated and applied to the

          States through the Fourteenth Amendment. Those rights include the right to


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 1        vote, to access the courts, to petition officials for redress of grievances, to
 2
          receive due process from law enforcement officials, and to be confined where
 3

 4        conditions are humane. To the extent that Title II enforces the Fourteenth
 5
          Amendment by remedying and preventing government conduct that burdens
 6

 7        these constitutional provisions and discriminates against persons with
 8
          disabilities in their exercise of these rights, Congress did not need to identify
 9

10        irrational government action in order to identify and address unconstitutional
11
          government action. See Popovich v. Cuyahoga County Court of Common
12

13        Pleas, 276 F.3d 808, 813-814 (6th Cir. 2002) (en banc); id. at 820 (Moore, J.,
14
          concurring) (“The fact that Title II implicates constitutional violations in areas
15

16
          ranging from education to voting also suggests that heightened judicial
17        scrutiny under both the Due Process and Equal Protection Clauses is
18
          appropriate.”)
19

20       89. Title II requires “reasonable modifications” in public services. 42 U.S.C.
21
          12131(2). That requirement, however, is carefully tailored to the unique
22

23        features of disability discrimination that Congress found persisted in public
24
          services in two ways. First, given the history of segregation and isolation and
25

26        the resulting entrenched stereotypes, fear, prejudices, and ignorance about
27
          persons with disabilities, Congress reasonably determined that a simple ban
28
          on discrimination would be insufficient to erase the stain of discrimination.

          Cf. Green v. County Sch. Bd., 391 U.S. 430, 437-438 (1968) (after

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 1        unconstitutional segregation, government is “charged with the affirmative
 2
          duty to take whatever steps might be necessary” to eliminate discrimination
 3

 4        “root and branch”). Therefore, Title II affirmatively promotes the integration
 5
          of individuals with disabilities – both in order to remedy past unconstitutional
 6

 7        conduct and to prevent future discrimination.
 8
         90. Since the inception of the ADA, there have been several advancements that
 9

10        have made litigation more accessible for disabled litigants, such as Plaintiff
11
          Carrington.   One such case showed that the standard used to be strictly a
12

13        physical one to access the courts, now is thought to also obligate all public
14
          entities, including court systems, to facilitate equal participatory and
15

16
          testimonial access.   See In re: Ruby McDonough, 457 Mass. 512. (2010).
17        Although this case is not binding in California, it is persuasive and through
18
          Dare v. California, 191 F.3d 1167 (1999), cert. denied, 121 S. Ct. 1187 (2001),
19

20        California is following the spirit of the ADA and further developments.
21
         91. Plaintiff Carrington was denied a request for an accommodation to appear
22

23        remotely during the height of the Covid-19 outbreak, which was denied by
24
          Judge Caproni, a colleague of Judge Failla. As Judge Caproni made the ruling
25

26        to deny Carrington’s reasonable accommodation to have access to this public
27
          system, she effectively waived her eleventh immunity, giving rise to this suit.
28
          Plaintiff Carrington is merely attempting to rectify the discrimination and

          violations of his various rights as he has described herein. The ADA provides

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 1        a clear path to remedy such injustice and creates an even playing field for all
 2
          litigants to have participatory access to the courts.
 3

 4          VII. NEGLIGENT DISREGARD FOR A SUBPOENA DURING AN
 5               ACTIVE COURT CASE
 6

 7       92. During the NY Case (Exhibit One), both Google and GoDaddy had
 8
         information regarding the Plaintiff in that case. Under the direction of the
 9

10       court, that confidential information was only supposed to be supplied to the
11
         FTI for review, by Google and Godaddy. However, both entities provided the
12

13       information to Paramount Pictures and Viacom’s (Paramount Global)
14
         attorneys. As a result, the Plaintiff suffered, irreparable damages by the release
15

16
         of the information, which was later used against the Plaintiff in the NY Case,
17       in Variety and The Hollywood Reporter and by the federal prosecutor over the
18

19
         perjury case, who used the exact same data and false claims made by

20       Paramount Global and Paramount Pictures’ attorney Larry Stein, in order to
21
         indict Carrington with criminal charges. Due to the nature of the subpoena
22

23       regarding said information, Google and GoDaddy both owed a duty to the
24
         Plaintiff to only release it to the FTI. They breached that duty, and were the de
25

26       facto and only cause of the breach which led to the Plaintiff’s damages.
27
            VIII. DEFAMATION PER SE BY THE USE OF THE ILLEGALLY
28                RELEASED INFORMATION AS WELL AS PUBLIC SLURS
                  AIMED AT THE PLAINTIFF’S CHARACTER



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 1       93. Having full knowledge of how the damaging statements were received,
 2
         National Amusements, Inc., Paramount Pictures, Paramount Global, Variety,
 3

 4       and the Hollywood Reporter willingly published information about false sexual
 5
         abuse claims, false evidence claims, Carrington’s raw data, Carrington’s
 6

 7       unjustified arrest, and other damaging information on the Plaintiff with the sole
 8
         purpose of destroying Carrington.     The publication of this information has
 9

10       caused massive amounts of mental distress, as well as damage to his
11
         professional reputation! Furthermore, representatives for the Defendants, as
12

13       seen below, called the Plaintiff a “Nigger.” (California case, Complaint pg. 8,
14
         ¶10) The use of this word in such a derogatory manner not only dehumanizes
15

16
         the Plaintiff but is Defamation per se by likening Plaintiff to someone who is
17       less than other human beings.
18
                Graden Lawyer Stein: “Niggers never win in a courtroom”
19

20
         94. Rovier Carrington’s abusers certainly appear to be racially motivated, at
21

22       least to some degree. For example, after a hearing in the California TRO matter,
23
         Defendant Brian Graden’s attorney Larry Stein confronted Carrington outside
24

25       the courthouse in the presence of witnesses, called him a “stupid fucking
26
         Nigger” and told him, “Niggers never win in a courtroom.” While Judge Failla
27

28       herself has not issued any statements that overtly indicate racial animus towards

         Carrington, insofar as Judge Failla disregarded the entire Federal Rules of Civil



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 1       Procedure in denying all procedure to Carrington, further inquiry into Judge
 2
         Failla’s motivations – racial or otherwise - seems entirely appropriate.
 3

 4
            IX.   Defense to Formation of a Contract with the Government through
 5
                  a Plea in a Criminal Proceeding
 6

 7       95. The first attempt to regulate plea bargaining came in 1946, when Congress
 8
         promulgated Federal Rule of Criminal Procedure 11. At the time, Rule 11
 9

10       simply stated that a judge should not accept a guilty plea “without first
11
         determining that the plea is made voluntarily with understanding of the nature
12

13
         of the charge.” In 1966, the Supreme Court amended Rule 11 to prohibit a judge

14       from accepting a guilty plea “without first addressing the defendant personally
15
         and determining the plea is made voluntarily with understanding of the nature
16

17       of the charge and the consequences of the plea.” FED. R. CRIM. P. 11 (1946)
18
         (amended 1966). Despite the Supreme Court’s amendment to Rule 11, the Court
19

20       itself noted that it was not until its 1971 opinion in Santobello v. New York, 404
21
         U.S. 257 (1971), “that lingering doubts about the legitimacy of the practice
22

23       were finally dispelled.
24
         96. The 1987 Supreme Court case Ricketts v. Adamson, 483 U.S. 1, 107 S. Ct.
25

26       2680 (1987) highlighted the fact that there have never been rules of
27
         construction created for plea agreements, but it did not define the extent to
28
         which commercial contract law informs plea-bargaining law. Nonetheless,

         subsequent precedent, including Supreme Court precedent, makes clear that


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 1       defendants entering into plea agreements should be treated at least as well as
 2
         parties entering into commercial contracts. It also established that the terms of
 3

 4       such agreements may be breached by a party. Id. at 5-6.
 5
         97. In a dissenting opinion joined by Justices Marshall, Blackmun, and Stevens,
 6

 7       Justice Brennan began by noting that the entire case hinged on whether
 8
         Adamson breached the plea agreement.
 9

10       98. He then used the following language:
11
                This Court has yet to address in any comprehensive way the rules
12              of construction appropriate for disputes involving plea
13              agreements. Nevertheless, it seems clear that the law of
                commercial contract may in some cases prove useful as an
14
                analogy or point of departure in construing a plea agreement, or in
15              framing the terms of the debate. It is also clear, however, that
16              commercial contract law can do no more than this, because plea
                agreements are constitutional contracts. The values that underlie
17
                commercial contract law, and that govern the relations between
18              economic actors, are not coextensive with those that underlie the
19              Due Process Clause, and that govern relations between criminal
                defendants and the State. Unlike some commercial contracts, plea
20
                agreements must be construed in light of the rights and obligations
21              created by the Constitution.
22
         99. Justice Brennan determined that the majority’s opinion finding
23

24        Adamson in breach was especially problematic because, “far from being
25
          a commercial actor, Adamson is an individual whose ‘contractual’
26

27        relation with the State is governed by the Constitution.”       Therefore,
28
          “[t]he determination of Adamson’s rights and responsibilities under the

          plea agreement is controlled by the principles of fundamental fairness


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 1        imposed by the Due Process Clause.” As a result, granting “one party—
 2
          here, the State—the unilateral and exclusive right to define the meaning
 3

 4        of a plea agreement is patently unfair.” Id. at 21.
 5
         100. Plaintiff Carrington pled guilty to a change of perjury while under
 6

 7         duress, as he only received such charge after attempting to exercise his
 8
           First Amendment Right to Redress the Government for Grievances,
 9

10         which mirrors the concepts raised in Ricketts above. He withdrew the
11
           California Suit after his life was threatened by Judge Failla and her co-
12

13         defendants. Carrington was afraid for his life due to the Covid-19
14
           pandemic. He was put in this position for speaking his truth and facing
15

16
           his sexual abusers: Brad Grey, Brian Graden, Sumner Redstone, Harvey
17         Weinstein and Larry Stein, his former employers and counsel, who were
18
           named employees and an owner of the above captioned Defendants
19

20         and/or the above captioned Defendants themselves. It was these actions
21
           of these parties cumulatively between the initial abuse, and the later
22

23         fraud surrounding the investigation with FTI to cover up such abuse,
24
           that resulted in Plaintiff Carrington’s Constitutional violations and his
25

26         guilty plea being entered into under duress.
27
         101. The Ricketts dissent continued to explain that under this theory of
28
           plea agreements as constitutional contracts, the Due Process Clause

           requires that pleading defendants be treated at least as well as parties to

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 1         other contracts, and specifically government contracts. At a minimum,
 2
           this means that every contract defense and rule of construction that
 3

 4         applies in the civil contract law context should apply to the extent that it
 5
           would assist pleading criminal defendants. Again, in the abstract, this
 6

 7         proposal should not be too controversial, given that courts across the
 8
           country have found that plea agreements are governed or strongly
 9

10         influenced by contract law, with defendants also afforded the additional
11
           protection of the Due Process Clause. Id. at text accompanying notes 57
12

13         - 58.
14
         102. In Kirke La Shelle Co. v. Paul Armstrong Co., 188 N.E. 163 (N.Y.
15

16
           1933), it was established that, “in every contract there is an implied
17         covenant that neither party shall do anything which will have the effect
18
           of destroying or injuring the right of the other party to receive the fruits
19

20         of the contract, which means that in every contract there exists an
21
           implied covenant of good faith and fair dealing. Id. at 168. Moreover,
22

23         section 205 of the Second Restatement of Contracts, which applies to
24
           non-Uniform Commercial Code contracts for goods, provides that,
25

26         “[e]very contract imposes upon each party a duty of good faith and fair
27
           dealing in its performance and its enforcement.” Both the Court of
28
           Federal Claims, which hears disputes over government contracts, and

           the United States Court of Appeals for the Federal Circuit, which

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 1         reviews those decisions on appeal, have found that the implied covenant
 2
           of good faith and fair dealing applies to all government contracts. See
 3

 4         Nat’l Austl. Bank v. United States, 452 F.3d 1321, 1324 (Fed. Cir.
 5
           2006).
 6

 7       103. Clearly, Plaintiff Carrington was not offered such good faith and
 8
           fair dealing required at the formation of the contract in question: the
 9

10         plea. In fact, he felt that he had no choice, as there was unequal
11
           bargaining power. Judge Failla had decided to pursue such a charge
12

13         after she was named as a Defendant in the California Suit. She ordered
14
           that if the California Case was not dismissed with prejudice by
15

16
           February 22, 2021, Carrington would be jailed on contempt and his
17         counsel would be fined $500 per day until dismissed. (Attached as
18
           Exhitit 2 is a true and correct copy of an Order issued February 9, 2021
19

20         by Judge Failla detailing Carrington’s surrender to US Marshals on
21
           February 22, 2021.) Carrington’s health made imprisonment a death
22

23         threat due to Covid-19. Under such duress, Carrington instructed his
24
           counsel to dismiss the California Case with prejudice, which he did on
25

26         February 17, 2021, and reported the dismissal to Judge Failla.
27
           (Attached as Exhitit 3 is a true and correct copy of an email from
28
           Carrington to the California Case judge on February 17, 2021

           explaining his reasons for the dismissal.)

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 1       104. On or about September 30, 2022, the federal prosecutor over the
 2
           perjury case against Carrington approached him while alone and
 3

 4         revealed that he had been assigned the case as he had been in an
 5
           intimate relationship with Graden. He informed Carrington that due to
 6

 7         the collegiate relationship between Judges Failla and Caproni, none of
 8
           Carrington’s evidence of innocence would ever be admitted in the
 9

10         criminal trial. At that time, he offered Carrington a plea bargain of 15
11
           months incarceration in exchange for a guilty plea, rather than five
12

13         years prison time if he took the case to trial. Carrington’s defense
14
           counsel later advised him to take the plea because she knew that all his
15

16
           exculpatory evidence would be suppressed due to the harm it would
17         cause to Judge Failla. Carrington therefore read a false statement of
18
           admission, as directed by the prosecutor, to the court and plead guilty.
19

20          X.    Injuries
21
         105. Cumulatively Plaintiff Carrington suffered a succession of events, to
22

23         which deprived him of Constitutional rights, protections as a qualifying
24
           litigant under the ADA, and moreover placed him in duress while entering a
25

26         plea for the resulting false perjury charge. He was denied the Right to
27
           Redress his government and bring his grievances against his sexual abusers.
28
           Plaintiff Carrington faced public ridicule, slander, and liable in the media and

           at the hands of the above-captioned Defendants. Most importantly, on July

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           10, 2023, Plaintiff Carrington will be sentenced for said plea, and be deprive
 2
          of his liberty for merely exercising his rights against his sexual abusers while
 3

 4        a neutral investigative third-party approved in the New York Suit cleared him
 5
          of any wrongdoing.
 6

 1

 8
           XI.     Relief
 9      106. Plaintiff Carrington prays this Honorable Court grant his petition, and
10
          award him the following relief:
11

12      1. An award of $250 Million as to National Amusements, Inc.;
13
        2. An award of $250 Million as to Paramount Studios;
14

15      3. An award of $250 Million as to Paramount Global;
16
        4. An award of $150 Million as to Google;
17

18      5. $150 Million as to Go Daddy;
19.
        6. $100 Million as to Variety;
20

21      7. $100 Million as to The Hollywood Reporter;
22
        8. Declaratory judgment rendering the New York Suit Protective Order null an
23
24
           void.

25

26            Respectfully submitted,
27
28
      DATED: July 6, 2023

                                            Attorney for   ovier Carrington

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 1
                                          Certification
 2

 3
            Under Federal Rule of Civil Procedure 11, by signing below, I certify to the
 4

 5    best of my knowledge, information, and belief that this complaint: (1) is not being
 6
      presented for an improper purpose, such as to harass, cause unnecessary delay, or
 7

 8    needlessly increase the cost of litigation; (2) is supported by existing law or by a
 9
      non-frivolous argument for extending, modifying, or reversing existing law; (3) the
10

11    factual contentions have evidentiary support or, if specifically so identified, will
12
      likely have evidentiary support after a reasonable opportunity for further
13

14
      investigation or discover; and (4) the complaint otherwise complies with the
15    requirements of Rule 11.
16

17
      DATED: July 6, 2023              __________________________________
18                                          Rovier Carrington
19

20

21

22

23

24

25

26

27

28




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                                EXHIBIT 1



                                EXHIBIT 1



                                EXHIBIT 1



                                EXHIBIT 1



                                EXHIBIT 1



                                EXHIBIT 1


                                EXHIBIT 1



                                EXHIBIT 1
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                               EXHIBIT 2



                               EXHIBIT2



                               EXHIBIT2



                               EXHIBIT2



                               EXHIBIT 2



                               EXHIBIT 2



                               EXHIBIT2



                               EXHIBIT 2
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                                EXHIBIT3


                                EXHIBIT3


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